   Case 16-30672     Doc 38     Filed 11/30/17 Entered 11/30/17 14:52:02           Desc Main
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                     UNITED STATES BANKRUPTCY COURT
                         DISTRICT OF NORTH DAKOTA
____________________________________________________________________________

In re:                                                      Chapter 7
                                                            Bky. Case No.: 16-30672
Vortex Drain Tiling LLC,

            Debtor.
_____________________________________________________________________________

                NOTICE OF APPLICATION FOR APPROVAL OF
                         EMPLOYMENT OF COUNSEL
______________________________________________________________________________

The Trustee filed and served an Application for Approval of Attorney or Accountant dated
November 30, 2017. Your rights may be affected in the action. You should read the papers
carefully and discuss the matters with your attorney if you have one. If you want the court to
consider your views you should mail a written response to the action, within 14 days of the date
of mailing of this document, and file the response with the Clerk of the Bankruptcy Court and a
copy served upon the U.S. Trustee and the Bankruptcy Trustee.

Clerk, U.S. Bankruptcy Court          U.S. Trustee                        Trustee
Quentin N. Burdick U.S. Courthouse    314 South Main Ave                  (see address below)
655 First Ave N, Ste 210              Suite 303
Fargo ND 58107-4932                   Sioux Falls, SD 57104-6462


DATE OF MAILING: November 30, 2017                  /s/ Erik A. Ahlgren_______________
                                                           Erik A. Ahlgren
                                                           Bankruptcy Trustee
                                                           220 W. Washington Ave., Ste. 105
                                                           Fergus Falls, MN 56537
                                                           218-998-2775




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                     UNITED STATES BANKRUPTCY COURT
                         DISTRICT OF NORTH DAKOTA
____________________________________________________________________________

In re:                                                           Chapter 7
                                                                 Bky. Case No.: 16-30672
Vortex Drain Tiling LLC,

            Debtor.
_____________________________________________________________________________

                      APPLICATION FOR APPROVAL OF
                         EMPLOYMENT OF COUNSEL
______________________________________________________________________________


                1.   Applicant is the Trustee in this case.

                2.   Applicant believes that the employment of an Attorney is necessary to represent or

assist the Trustee in carrying out the Trustee’s duties as follows: act as counsel to the Trustee in

pursuing collection and avoidance actions.

                3.   Matthew R. Burton, and Leonard, O’Brien, Spencer, Gale & Sayre, Ltd

(“LOSGS”), 100 South Fifth Street, Suite 2500, Minneapolis, MN 55402 are qualified by reason

of practice and experience to render such representation or assistance to the Trustee.

                4.   Proposed compensation and reimbursement of expenses is $400 per hour plus

expenses, subject to Court approval.

                5.   Said professional has disclosed to the undersigned that he has the following

connections with the Debtor(s), creditors, any other party-in-interest, their respective attorneys

and accountants, the United States Trustee or any person employed in the Office of the United

States Trustee: McM, Inc. is a creditor in this case and the undersigned is counsel for the Trustee

in that case. There will be no conflict of interest by any of the services provided in this case.




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                WHEREFORE, applicant requests that the court approve such employment by the

Trustee.



Dated: November 30, 2017                       /s/ Erik A. Ahlgren______________
                                               Erik A. Ahlgren
                                               Bankruptcy Trustee
                                               220 W. Washington Ave., Suite 105
                                               Fergus Falls, MN 56537
                                               (218) 998-2775




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                     UNITED STATES BANKRUPTCY COURT
                         DISTRICT OF NORTH DAKOTA
____________________________________________________________________________

In re:                                                        Chapter 7
                                                              Bky. Case No.: 16-30672
Vortex Drain Tiling LLC,

            Debtor.
_____________________________________________________________________________

                          CERTIFICATE OF SERVICE
______________________________________________________________________________

        I, Lisa Ahlgren of Fergus Falls, Minnesota, declare under penalty of perjury that on
November 30, 2017, she served the “Notice of Application and Application for Approval of
Employment of Counsel” via First Class Mail, postage pre-paid to the parties listed below and that a
true copy of the document was served electronically by Notice of Electronic Filing upon all parties
who have requested service in this case by filing the same via ECF with the Bankruptcy Court in the
District of North Dakota which automatically causes a notification of the filing to be sent to all ECF
participants of record in this matter, and this constitutes service.

Vortex Drain Tilling LLC
741 Ashley Lane NE
Thompson, ND 58278

The U. S. Trustee will be served electronically at USTPRegion12.SX.ECF@usdoj.gov.


                                               /s/     Lisa Ahlgren
                                                       Lisa Ahlgren
                                                       220 W. Washington Ave., Suite 105
                                                       Fergus Falls, MN 56537




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